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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO

Larry Golden, Pro Se Plaintiff Ey

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CASE NO: 3:22-cv-05246-REL

LARRY GOLDEN,
JURY TRIAL DEMANDED

Plaintiff,
V. (Direct Patent Infringement),

(Induced and Contributory Patent

GOOGLE LLC Infringement), (Joint Infringement,
(Willful Infringement)

Defendants.

PLAINTIFF’S NOTICE OF RELATED FILINGS IN
THE SUPREME COURT

February 27, 2024
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Relevant to the cause(s) of action outlined in this case, is the recent case filed in the
Supreme Court on February 16, 2024, Larry Golden v. Samsung Electronics America, Inc., Case
No. 23-904.

Pursuant to the Supreme Court, all petitions filed on or after July 1* of 2019 must include
a “Related Cases” section. Relevant to petition filings, Rule 14 now asks for:

[A] list of all proceedings in state and federal trial and appellate courts, including
proceedings in this Court, that are directly related to the case in this Court. For each such
proceeding, the list should include the court in question, the docket number and case
caption for the proceeding, and the date of entry of the judgment. For the purposes of this
rule, a case is “directly related” if it arises from the same trial court case as the case in
this Court (including the proceedings directly on review in this case), or if it challenges
the same [causes of actions; patents, etc.] as is challenged in this Court, whether on direct

appeal or through state or federal collateral proceedings. Amended Rule 14.1(b){iii).

Sincerely,

/ Larry Goldew

Larry Golden, Pro Se Plaintiff
740 Woodruff Rd., #1102
Greenville, SC 29607

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(M) 8649927104

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CERTIFICATE OF NOTICE AND SERVICE

The undersigned hereby certifies that on this 27" day of February, 2024, a
true and correct copy of the foregoing “Notice of Related Filings in the Supreme
Court” and a copy of the “Petition for Writ of Certiorari of the Related Case filed
in the Supreme Court in Larry Golden v. Samsung Electronics America, Inc., Case
No. 23-904”, was served upon the following Defendant either by priority “express”

mail.

Matthew S. Warren

WARREN LEX LLP

2261 Market Street, No. 606
San Francisco, California, 94114
Phone: (415) 895-2940

Fax: (415) 895-2964

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Sincerely,

/ Larry Goldew

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No. 427708

Iu The
Supreme Court of the Anited States

>

LARRY GOLDEN,

Fetitioner,

THE UNITED STATES,

Respondent.

>

On Petition For Writ Of Certiorari
To The United States Court Of Appeals
For The Federal Circuit

>

PETITION FOR WRIT OF CERTIORARI

>

LARRY GOLDEN, Petitioner, Pro Se
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SUPAEME COURT, U.S.

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QUESTIONS PRESENTED

Considering the Supreme Court precedence and
the Fifth Amendment of the U.S. Constitution, is it a
violation of procedural due process to order the Patent
Owner to prove the Government directly infringed Pa-
tent Owner’s patents under 28 U.S.C. § 14¥8(a) as a
predicate to showing the Government appropriated or
used Petitioner’s patented invention, without just com-
pensation?

On record, the Government in DHS S&T BAAO7-
10 Cell-All, took property from the Petitioner and
awarded contracts to LG, Samsung, Apple, and Qual-
comm to develop and commercialize Petitioner’s prop-
erty supposedly for the benefit of the Government and
for public use. “[I]t has long been accepted that the sov-
ereign may not take the property of A for the sole pur-
pose of transferring it to another private party B, even
though A is paid just compensation.” Kelo, 125 S.Ct. at
2661. Therefore, is it a violation of the Fifth Amend-
ment of the U.S. Constitution and the “Due Process”
Clause for the Government to deprive Petitioner of his
property, by contracting LG, Samsung, Apple, and
Qualcomm to develop and commercialize Petitioner’s
property, without paying just compensation?

The Supreme Court explicitly recognized that pa-
tents are property secured by the Fifth Amendment
Takings Clause. In Horne v. Department of Agriculture,
576 U.S. 350 [2015] the Court held that the Takings
Clause imposes a “categorical duty” on the government
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QUESTIONS PRESENTED—Continued

to pay just compensation whether it takes personal or
real property. As the Supreme Court summed up in
James v. Campbell, 104 U.S. 356, 358 (1882): “fA pa-
tent] confers upon the patentee an exclusive property in
the patented invention which cannot be appropriated or
used by the government itself, without just compensa-
tion”, The Fifth Amendment of the U.S. Constitution
provides that “no person shall be deprived of life, lib-
erty, or property, without due process of law; nor shall
private property be taken for public use, without just
compensation”.
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PARTIES TO THE PROCEEDING

The parties to the proceeding in the United States
Court of Appeals for the Federal Circuit were Peti-
tioner Larry Golden and Respondent United States.

RELATED CASES

* Golden v. Qualcomm, Inc., Petition for a Writ of
Certiorari, 23-740, United States Supreme Court.
Pending

¢ Golden v. Google LLC, 3:2022cv05246, California
Northern District Court. Pending

* Golden v. Qualcomm, Inc., 4:2022cv03283, Califor-
nia Northern District Court. Judgment entered
March 15, 2023

¢ Golden v. Intel Corporation, 5:2022cv03828, Cali-
fornia Northern District Court. Judgment entered
November 22, 2022

® Golden v. Apple, Inc., 3:2022cv04152, California
Northern District Court. Judgment entered Octo-
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° Golden v. Samsung Electronics America, Inc.,
3:2023cv00048, California Northern District Court.
Judgment entered June 8, 2023

© Golden v. Samsung Electronics America, Inc.,
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® Golden v. Qualcomm Incorporated, 0:2028evpri01818,
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@ GOLDEN v. USA, 1:2018cv00307, U.S. Court of
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¢ GOLDEN v. USA, 1:2023cv00811, U.S. Court of
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PETITION FOR A WRIT OF CERTIORARI

Larry Golden petitions for a writ of certiorari to
review the judgement of the United States Court of
Appeals for the Federal Circuit in this case.

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OPINIONS BELOW

The Patent Trials and Appeals Board final written
decision addressing the questions (App. 1-39). The Pa-
tent Trials and Appeals Board decision denying re-
hearing addressing the questions (App. 40-49). The
Court of Appeals for the Federal Circuit opinions ad-
dressing the questions (App. 50-67), (App. 76-79), and
(App. 80-81} are unreported. The Court of Federal
Claims opinions addressing the questions (App. 68-72),
and (App. 73-75) are unreported.

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JURISDICTION

The Patent Trials and Appeals Board (PTAB) en-
tered judgement on October 1, 2015 (App. 1). The PTAB
denied a timely filed petition for rehearing on Novem-
ber 17, 2015 (App. 2). The Court of Appeals entered
judgement on December 15, 2023 (App. 6). The Court
of Appeals denied a timely filed petition for rehearing
en banc on January 25, 2024 (App. 7). This Court has
jurisdiction under 28 U.S.C. § 1254(1).

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STATUTES AND CONSTITUTIONAL
PROVISIONS INVOLVED

28 U.S.C. §1491(a}—Government Unconstitu-
tional IPR-Based “Takings” of Property under the Fifth
Amendment Clause of the United States Constitution,
without “Due Process” of Law and without Just Com-
pensation.

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INTRODUCTION AND STATEMENT

The Petitioner, as far back as year 2008, provided
the Government with three Economic Stimulus and
Terrorist Prevention Packages: “The SafeRack Project”
which includes the technology for ubiquitous CBRNE
sensing for our Nation’s most vulnerable places; “The
V-Tection Project”, which includes controlling a vehi-
cle’s stop, stall, and slowdown, both remotely, and
through satellite and cellular, by means of at least a
smartphone—a pre-programmed stop, stall, and vehi-
cle slowdown that is triggered to avoid a collision; and
the “Anti-Terrorism Product Grouping (ATPG) Pro-
ject”, which includes a communicating, monitoring de-
tecting, and controlling (CMDC) device from the
products grouped together by common features of de-
sign similarities of at least that of a smartphone, or a
new, improved upon, and useful laptop, PC computer,
desktop, tablet, PDA, or cell phone [35 U.S.C. § 101]:

“Whoever invents or discovers any new and
useful process, machine, manufacture, or com-
position of matter, or any new and useful
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improvement thereof, may obtain a patent
therefor, subject to the conditions and require-
ments of this title.”

Six months after the DHS was established on Nov.
25, 2002, Petitioner receive a response letter on May
21, 2003 from the Honorable Senator Fritz Hollings: “I
have contacted the Department of Justice and the De-
partment of Homeland Security to try to be of assis-
tance”; on June 3, 2003 from the Office of the Vice
President, Dick Cheney: “[ylour correspondence has
been forwarded to the Department of Homeland Secu-
rity for review. You will hear back directly from the De-
partment”; on October 1, 2003 from the Honorable
Senator Fritz Hollings: “[t]hank you for contacting me
regarding your difficulty with receiving a response
from the Department of Homeland Security”; on Octo-
ber 21, 2003 from the Honorable Senator Lindsey
Graham: “I have contacted the Department of Home-
land Security on your behalf. I have asked that they
review your request and respond directly to you”; on
June 20, 2005 from the Office of the President, George
Bush: “[t]hank you for your letter regarding homeland
security technology procurement. Please know I have
forwarded it to the Department of Homeland Security
for review and response”.

““HE SHARED HIS INFORMATION WITH
OUR GOVERNMENT?’ only to discover that
he and his patents were being infringed.
Larry sued and consequently faced a brutal
Patent Trial and Appeal Board (PTAB) attack
by Homeland Security, joined by the Depart-
ment of Defense. Larry has experienced
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incredible hardships due to our government,
infringing on his “constitutionally protected”
property rights. Facing PTAB attacks by large
entities is the norm for an inventor with a
truly valuable invention. When facing such
an attack, the inventor is often fighting an
assailant with resources that seem unlimited.
In Larry’s case, it didn’t just seem that way.
The entity that attacked and invalidated his
patent was actually the US Government!
https://usinventor.org/portfolio-items/larry-
golden-inventor-founder-of-atpg-technology-
Ue/

Petitioner will demonstrate how the Government,
on multiple occasions since 2008, has “taken” Peti-
tioner’s property under the Fifth Amendment Clause
of the United States Constitutional, without due pro-
cess of law and without just compensation. Petitioner
will demonstrate how the Government has continu-
ously violated certain statutes and procedurals as a
means of retaliation because Petitioner filed a Govern-
ment “Takings” claim against the Department of
Homeland Security (DHS) in the United States Court
of Federal Clams in 2013. Petitioner will also show how
the Department of Justice (DOJ) participated in the
“takings” of Petitioner’s property by narrating and di-
recting the Court, to litigate on actions and defenses
unrelated to Petitioner’s cause of action, such as “hav-
ing plaintiff prove direct infringement under 35 U.S.C.
§ 271(a) as a predicate to proving direct infringement
under 28 U.S.C. § 1498(a)”. Overturned in Zoltek V.
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The DOJ discarded seven of the eight Government
Contractors (i.e., NASA, SeaCoast, Rhevision, Synkera,
Qualcomm, LG, Samsung, and Apple) for the DHS
S&T BAAO7-10 Ceil-All Ubiquitous Biological and
Chemical Sensing initiative, to that of a dispute be-
tween private parties, the Petitioner and Apple, Inc.

The jurisdiction of the United States Court of
Federal Claims (COFC) is to resolve disputes for
money damages brought against the United States
Government. The COFC was outside its jurisdiction to
adjudicate a dispute between the private parties of
Golden and Apple.

The DOJ and the DHS used this jurisdictional vi-
olation to avoid addressing Petitioner’s Government
“taking” claim. The Government must be a Defendant
(DHS) for a claim of a Fifth Amendment “takings” un-
der 28 U.S.C. § 1491(a), and a Defendant (DHS) for a
claim of Government “infringement” under 28 U.S.C.
§ 1498(a).

Likewise, Petitioner's Unconstitutional IPR-
Based “Takings” claim, that was joined with the lead
case [COFC Case No. 13-307C] in 2019, cannot legally
be dismissed under the doctrine of the statute of limi-
tations, because the COFC allowed Golden’s Unconsti-
tutional IPR-Based “Takings” claim to sit on the docket
after the CAFC Golden v. US, Case No. 19-2134 (2020),
and the COFC Court never addressed the claim before
the COFC closed the lead case on 11/10/2021.

Petitioner is the only person in American history
who spent years working on projects to restore our
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Nation’s economy after the 9/11 attacks with strategies
and technology, that when revealed to the U.S. Govern-
ment; the Government has spent years discrediting
Petitioner’s work, and making Petitioner’s life a living
hell. The Civil Rights Division of the Department of
Justice, created in 1957 by the enactment of the Civil
Rights Act of 1957, suppose to work to uphold the civil
and constitutional rights of all persons in the United
States, particularly some of the most vulnerable mem-
bers of our society. Included are Blacks and/or African
Americans.

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REASONS FOR GRANTING THE WRIT

The PTAB Judges in Department of Homeland
Security v. Larry Golden, Case No. IPR2014-00714,
were intimidated and forced to act under duress, by
the DHS and the DOJ, to ignore the multiple times
the Patent Owner “begged” the DOJ, DHS, and PTAB
before, in the Patent Owner’s Preliminary Response
(paper 23); during the IPR trial in papers 25, 26, 29,
33, and 35; and in the Patent Owner’s Request for Re-
hearing (paper 36), not take the Patent Owner’s patent
claims with unqualified patent references of Astrin,
Breed, and Mostov.

Under no conditions, nor any prevailing law, can
an inter partes review (IPR) be instituted with three
unqualified patent references that do not antedate the
priority date of the challenged patent or patent claims.
A claimed invention may be rejected under 35 U.S.C.
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102 when the invention is anticipated (“not novel”)
over a disclosure that is available as prior art.

To reject a claim as anticipated by a reference, the
disclosure must teach every element required by the
claim under its broadest reasonable interpretation.
See, e.g., MPEP § 2114, subsections IT and IV. “A claim
is anticipated only if each and every element as set
forth in the claim is found, either expressly or inher-
ently described, in a single prior art reference.” Verde-
gaal Bros. v. Union Oil Co. of California, 814 F.2d 628,
631, 2 USPQ2d 1051, 1053 (Fed. Cir. 1987). The basis
for “anticipation” is that the patent references consid-
ered for prior act, has priority filing dates that pro-
ceeds the challenged patent.

Procedural Due Process refers to the constitu-
tional requirement that when the federal government
acts in such a way that denies a citizen [Patent Owner]
of a life, liberty, or property interest, the person must
be given notice, the opportunity to be heard, and a de-
cision by a neutral decision-maker.

The Government has been given multiple years
and multiple opportunities to retract or reverse its
unlawful acts but fail, or simply refuse to do so. As a
result of the Government’s reluctance to rectify, Peti-
tioner has suffered a government “taking” of his Prop-
erty under the Fifth Amendment Clause of the U.S.
Constitution without being paid “just compensation”.

The Unconstitutional “Takings” begin on 04/30/2014
when the Department of Homeland Security (DHS)
petitioned the U.S. Patent Trial and Appeal Board
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(PTAB) with unqualified patent references. The “Tak-
ings” continued when on 10/08/2014, the PTAB insti-
tuted trial on two of the unqualified patent references
[Astrin and Breed]. The “Takings” ended when the
PTAB issued a Final Written Decision on 10/01/2015.

Petitioner filed his Unconstitutional IPR-Based
“Takings” claim against the Government on 01/17/2019
Golden v. US, Case No. 19-104 (2019). Well within the
statutory six-year statute of limitations. Judge Brug-
gink join this case with the lead case Golden v. US,
Case No. 19-104 on 01/29/2019. The Federal Circuit on
04/10/2020 Golden v. US, Case No. 19-2134 determined
Petitioner was well within his constitutional rights to
filed an Unconstitutional IPR-Based “Takings” claim
in the U.S. Court of Federal Claims (COFC).

The COFC allowed Golden’s Unconstitutional
IPR-Based “Takings” claim to sit on the docket, after
the Federal Circuit’s decision in Golden v. US, Case
No. 19-2134 (2020), and never addressed the Unconsti-
tutional IPR-Based “Takings” claim before the COFC
closed the lead case on 11/10/2021. The Government’s
argument that the claim is barred because of the stat-
ute of limitations, is simply a “le” used to justify the
“takings” of Petitioner’s property.

The Leahy-Smith America Invents Act (AIA) of
2011 created the Patent Trial and Appeal Board, 35
U.S.C. § 6(c), and established three types of adminis-
trative review proceedings before the Board that ena-
ble a “person” other than the patent owner to challenge
the validity of a patent post-issuance: (1) “inter partes
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review,” §311; (2) “post-grant review,” §321; and (3)
“covered-business-method review” (CBM review), note
following §321.

In the absence of an express statutory definition,
the Supreme Court applied a “longstanding interpre-
tive presumption that ‘person’ does not include the
sovereign,” and thus excludes a federal agency like the
Postal Service. Vermont Agency of Natural Resources v.
United States ex rel. Stevens, 529 U.S. 765, 780-781
(2000); see United States v. Mine Workers, 330 U.S. 258,
275 (1947); United States v. Cooper Corp., 312 U.S. 600,
603-605 (1941): United States v. Fox, 94 U.S. 315, 321
(1877).

Plaintiff-Appellant’s “takings” case was decided
when the U.S. Supreme Court in Return Mail Ince. v.
U.S. Postal Service (2019) decided the [Dept. of Home-
land Security (DHS) and the Dept. of Justice (DOJ)]
are not “persons” authorized to petition the PTAB for
inter partes review. The decision nullified the IPR pro-
ceedings as whole because of the fraudulent and de-
ceitful activities [violation of constitutional statutes
and procedures] of the Dept. of Homeland Security
(DHS) and the Dept. of Justice (DOJ) and the Patent
Trials and Appeals Board (PTAB).

In Golden’s Motion for Leave to File a Motion for
Summary Judgement Larry Golden v, United States,
COFC Case 1:18-cv-00307-EGB Document 196 Filed
11/03/20, Golden continued his efforts to get the DOJ
and the COFC Court to address Golden’s Unconstitu-
tional IPR-Based “Takings” claims. Golden believed
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the U.S. Supreme Court decision in Return Mail Inc. v.
U.S. Postal Service (2019) provided sufficient evidence
for Summary Judgement in view of the malicious pros-
ecution in which the Patent Owner claims the DOJ &
DHS knowingly pursued a base IPR case against the
Patent Owner.

The COFC ignored Petitioner’s attempt to have
Petitioner’s Unconstitutional IPR-Based “Takings”
claims adjudicated. The claim was never adjudicated
before being dismissed.

The Unconstitutional IPR-Based “takings” pro-
ceedings ended with the only Patent Owner (Black
and/or African American inventor) in the Nation to
have his property taken by unauthorized Government
agencies, without paying just compensation.

Malicious prosecution means the Defendants
[DOJ & DHS] began or continued the civil legal pro-
ceeding without reasonable grounds to believe the ba-
sis for it, or the allegations made in it. Even ifthe DOJ
& DHS who petition the PTAB for an inter partes re-
view, think they have a winning case and are petition-
ing for a legitimate reason when they begin the case,
they can be guilty of malicious prosecution if they dis-
cover a reason they cannot win during the case, and
continue the case for improper motives anyway.

After being exposed by the Patent Owner that the
references of Astrin, Breed, and Mostov are unquali-
fied references to satisfy a 102-antipation objection;
and the Government agencies [DOJ & DHS] are unau-
thorized “persons” for petitioning the PTAB to
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invalidate the Patent Owner's patent claims, the DOJ
and DHS continued the case for the improper motive
of “Taking” the Patent Owner’s property under the
Fifth Amendment Clause of the U.S. Constitution,
without “due process of law”, and without paying “just
Compensation.”

Therefore, the statute of limitations does not ap-
ply because Petitioner’s “Unconstitutional IPR-Based
“takings” claim, that was joined in the lead case in
2019, was still an active cause of action until the COFC
closed the lead case on 11/10/2021.

The inappropriate behavior of the DOJ and the
DHS; the indisputably bias, partial, and erroneous de-
cisions of the lower Courts in favor of the DOJ & DHS;
and the violations of Petitioner’s rights enforceable
against the United States for money damages; still,
does not answer the questions of when, what, and how
the Government’s appropriation or use of a patented
invention, without paying just compensation, creates
liability for the Government?

I. AN EXAMPLE OF “WHAT”, “HOW”, AND
“WHERE” THE GOVERNMENT APPROPRI-
ATED OR USED PETITIONER’S PATENTED
INVENTION(S) WITHOUT PAYING JUST
COMPENSATION: A DESCRIPTION OF IN-
VENTIONS THAT SUPPORTS THE THREE
ECONOMIC STIMULUS PACKAGES

Petitioner owns 11 patents that has over 300 pa-
tent claims. U.S. Patent No. 9,589,439 [the ‘439 patent]
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was issued on March 7, 2017 with a Priority date of
Disclosure [Conception] filed at the USPTO on Novem-
ber 26, 2004, and a Priority patent application filing
date of April 5, 2006. The following Claim 1 of the ‘439
patent was issued with the presumption of validity
[35 U.S.C. § 282(a)] and illustrates the product group-
ing strategies for intergrading the technology rational
of the three economic stimulus packages for Border
Security. The claim describes “what” in Petitioner’s pa-
tent is being appropriated or used:

1. A multi sensor detection system ca-
pable of identifying, monitoring, detecting,
and securing those critical areas (e.g., U.S.
borders), sites, locations and facilities vulner-
able to terrorist activity that can be inte-
grated with and _ interconnected to
watchtowers to form a network, comprising:

at least one of an integrated watchtower,
a fixed watchtower, a surveillance watchtower,
a watchtower capable of scanning, a watch-
tower capable of monitoring, a watchtower
equipped with sensors or a watchtower inter-
connected to a central monitoring terminal for
sending signals thereto and receiving signals
therefrom;

wherein the at least one watchtower is
equipped with a remote video surveillance
camera that provides at least one night vision
means of surveillance or an infrared human
detection means of surveillance capability
and is integrated into a watchtower’s
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remotely controlled system that can monitor,
detect, track, and identify humans;

a communication device of at least one of
a mobile communication device, a mobile com-
munication unit, a portable communication
device, portable communication equipment, a
wired communication device, a wireless com-
munication device, a monitoring site, a moni-
toring terminal, a web server, a desktop
personal computer (PC), a notebook personal
computer (PC), a laptop, a satellite phone, a
smart phone, a cell phone, a Universal Mobile
Telecommunications System (UMTS) phone,
a personal digital assistant (PDA), a liquid
crystal display (LCD) monitor, a satellite, or a
handheld, interconnected to a monitoring
equipment for sending signals thereto and
receiving signals therefrom;

a communication method of at least one
of a Bluetooth, Wi-Fi, Wi-Max, Internet,
Ethernet, Broadband, Network Bandwidth,
Wireless, Wired, Text Messaging, Cellular,
Satellite, Telematics, Wide Area Network
(WAN), Wireless Wide Area Network
(WWAN), Local Area Network (LAN), Radio
Frequency (RF), Broadband Wireless Access
(BWA), Global Positioning System (GPS), or
central processing unit (CPU), used to inter-
connect the communication device to the mon-
itoring equipment for sending signals thereto
and receiving signals therefrom;

a plurality of sensors for detecting or
sensing humans that is at least one of a
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chemical human sensor, biological human
sensor, radiological human sensor, infrared
human detector, motion human detector, or
image human detector, interconnected to or
disposed within the multi-sensor detection
system for sending signals thereto and receiv-
ing signals therefrom;

a mobile multi-sensor detection device
that is at least one of a ground surveillance
sensor, a surveillance radar sensor, a surveil-
lance camera, or a stand-alone surveillance
scanner, that is mounted in, on, or upon at
least one of a car, a truck, a camper, a bus, a
van, an unmanned aerial vehicle (UAV), an
unmanned ground vehicle (UGV), or a utility
vehicle, interconnected to the monitoring
equipment for sending signals thereto and re-
ceiving signals therefrom;

a hand-held multi-sensor detection device
that is capable of at least one of thermal im-
aging or infrared imaging for monitoring, de-
tecting, tracking and identifying humans,
that is controlled or operated by at least one
authorized person who is an owner, pilot,
conductor, captain, drivers of vehicles identi-
fied as high security, airport security, police,
highway patrol, security guard, military per-
sonnel, hazardous material (HAZMAT) per-
sonnel, Central Intelligence Agency (CIA),
Federal Bureau of Investigation (FBD, Secret
Service, port security personnel, border secu-
rity personnel, first responders, or monitoring
site and terminal personnel, interconnected to
the monitoring equipment for sending signals
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thereto and receiving signals therefrom,
wherein the authorized person manually ini-
tiates the signal to the monitoring equipment
to alert upon the monitoring, detecting, track-
ing and identifying of the human;

whereupon, detection by the mobile
multi-sensor detection device causes an auto-
matic signal transmission to be sent to, or re-
ceived from, any products in product grouping
categories of storage and transportation, sen-
sors, detector case; modified and adapted,
monitoring and communication devices, com-
munication methods, biometrics;

whereupon, detection of an unauthorized
vehicle, an unauthorized driver or operator of
a vehicle or mobile unit, a signal is sent from
the communication device to the vehicle or
mobile unit to stop, stall or slowdown the ve-
hicle;

wherein, a communication device of at
least one of a mobile communication device, a
mobile communication unit, a portable com-
munication device, portable communication
equipment, a wired communication device, a
wireless communication device, a monitoring
site, a monitoring terminal, a web server, a
desktop PC, a notebook PC, a laptop, a satel-
lite phone, a smart phone, a cell phone, a
UMTS phone, a PDA, a LCD monitor, a satel-
lite, or a handheld, interconnected to the mon-
itoring equipment for sending signals thereto
and receiving signals therefrom, comprising
a lock disabling mechanism that is able to
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engage (lock), and disengage (unlock) and dis-
able (make unavailable) after a specific num-
ber of tries.

DHS “Secure Border Initiative Network” (SBInet):

A new integrated system of personnel, infrastruc-
ture, technology, and rapid response to secure the
northern and southern land borders of the United
States. It was a part of Secure Border Initiative (SBI),
an overarching program of the United States Depart-
ment of Homeland Security (DHS).

Towers were meant to be set up along the border,
with varying surveillance and communications equip-
ment depending on the climate, terrain, population
density, and other factors. Towers were slated to in-
clude radar, long-range cameras, broadband wireless
access points, thermal imaging capabilities, and mo-
tion detectors. SBInet was meant to also include some
ground sensors for seismic detection as well.

Border Patrol agents were meant to carry PDAs
(i.e., smartphones) with GPS capabilities, to allow the
command center to track the location of agents inter-
dicting illegal entries and watch the encounter in real
time on the common operating picture. Additionally,
the PDAs (i.e., smartphones) were supposed to have
advanced fingerprint identification technology, to al-
low Border Patrol agents to identify an individual at
the interdiction site immediately and the ability to
view and control tower cameras from the PDA (ie.,
smartphone). In addition, Border Patrol agents were
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to be given laptops in the patrol car to provide the in-
formation necessary to effectively and safely approach
a given threat.

Airborne sensors on unmanned aerial vehicles
(UAVs) were meant to fill in gaps in the “virtual fence”
in remote areas where building and maintaining tow-
ers was impractical. A small UAV called the Skylark
operated by a single individual, was considered.

il. PETITIONER’S PATENTED INVENTIONS
FOR THE “SAFERACK” PROJECT; AP-
PROPRIATED OR USED BY THE GOV-
ERNMENT(DHS) ITSELF, WITHOUT JUST
COMPENSATION”

DHS “BioWatch” GEN 3:

The purpose of this acquisition is to obtain a fully
autonomous networked biodetection capability (known
as Generation 3 or Gen-3) that will be deployed, oper-
ated, and sustained, both indoor and outdoor, in se-
lected US BioWatch jurisdictions throughout the
United States to continuously monitor the air for
agents of biological concern. This requirement sup-
ports the Department of Homeland Security (DHS)
plans to [implement] an autonomous biodetection ca-
pability that will improve timeliness, time resolution,
population coverage, and cost effectiveness.

The BioWatch Gen-3 Autonomous Detection capa-
bility must be able to: (1) rapidly process and accu-
rately analyze aerosol samples with a high level of
confidence, (2) automate and integrate the major
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system functions into the detector including aerosol
sample collection, preparation, analysis, and analytical
results reporting, (3) operate in its intended indoor
and outdoor environments, and (4) disseminate and
archive analysis results and system operational data
via the C3 network, known as the Gen-3 BioWatch
Operations Support Service (G3BOSS).

Thus, it is necessary to acquire an autonomous
biological detection capability. An autonomous biode-
tection system is capable of integrating the sample
collection, preparation, analysis, and reporting func-
tions, and autonomously executing these tasks without
requiring human intervention or control. An autono-
mous biodetection system will maximize current tech-
nology and enhance biosurveillance by reducing the
time required to provide awareness of the presence of
biothreat agents and provide economies of scale ena-
bling the expansion of population coverage with incre-
mentally reduced costs. Accordingly, the Department of
Homeland Security (DHS) Office of Health Affairs
(OHA) plans to procure and deploy a BioWatch Gener-
ation 3 (Gen-3) fully autonomous detection system.

ill. PETITIONER’S PATENTED INVENTIONS
FOR THE “V-TECTION” PROJECT; AP-
PROPRIATED OR USED BY THE GOV-
ERNMENT (DHS) ITSELF, WITHOUT JUST
COMPENSATION”

DHS S&T Directorate “Autonomous Technology”:

DHS continues to partner with companies that
manufacture technologies that can disrupt, disable,
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and control UAVs. In particular, DHS works with the
Department of Defense, other government agencies,
and private corporations to develop the means to inca-
pacitate rogue autonomous drones. DHS ensures such
technology is in place to protect high-value targets like
government buildings, borders, prisons, and sensitive
facilities. DHS is mandating UAVs are only made
available that include GPS geo-referenced data with
denied areas restrictions programmed into all flight
modes.

Techniques to protect crowds and high value tar-
gets from terrorist threats include working with auton-
omous trucking companies and major carriers;
devising methods for safeguarding and detecting le-
thal payloads through embedded and remote sensors;
preventing the hacking and the manipulation of elec-
tronic manifests; restricting access by autonomous
trucks to areas proximate to vulnerable high-value tar-
gets; and promoting technologies, such as geofencing,
and sensors, for stopping such vehicles from being used
nefariously.

Autonomous technology is a true force multiplier
for DHS CBP, enabling Border Patrol agents to remain
focused on their interdiction mission rather than oper-
ating surveillance systems. Investments in autono-
mous operation, artificial intelligence, and other
advanced technologies native to the Autonomous Sur-
veillance Towers are absolutely essential to border se-
curity and compliment other capabilities such as the
Border Wall System, Remote Video Surveillance Sys-
tem, Integrated Fixed Towers, Mobile Surveillance and
smal] drones.
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IV. PETITIONER’S PATENTED INVENTIONS
FOR THE “ATPG” PROJECT; APPROPRI-
ATED OR USED BY THE GOVERNMENT
(DHS) ITSELF, WITHOUT JUST COMPEN-
SATION”

The DHS “Ceill-All” Project:

Cell-All is a program managed by DHS to develop
software and hardware that enables smartphones to
function as handheld, pervasive environmental sen-
sors. In the initial research and development phase,
engineers miniaturized sensors to detect abnormal lev-
els of potentially dangerous chemicals in the surround-
ing environment. When dangerous levels are detected,
an application on the cell phone should automatically
send sensor and location data over the network to a
centralized server, which will then contact appropriate
agencies and first responders. The eventual goal of the
project is to embed multiple nanoscale sensors (for en-
vironmental chemicals, industrial toxins, radiation,
and bioagents) directly into mobile phones.

During the development of second-generation pro-
totypes, chemical sensors were separated from the
phones, allowing for initial market deployment of the
sensors through third-party products, such as sleeves,
that could be added to existing phones (U.S. Depart-
ment of Homeland Security, 2011a). This use of third-
party accessory products is intended to speed up the
technology’s commercial availability so that people can
begin using the Cell-All applications with their current
phones before integrated sensors are fully operational
and readily available. At a September 2011 live test
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and demonstration of second-generation prototypes at
the Los Angeles Fire Department’s Frank Hotchkin
Memorial Training Center, Synkera’s prototype was al-
ready on the market and NASA’s sensor was awaiting
clearance for public release. DHS presentations at this
event conveyed that next generation, sensor-embedded
phones would roll out gradually over the next few
years and, as with cameras in phones, would soon be-
come standard (U.S. Department of Homeland Secu-
rity, 2011a).

As the Court summed up in James v. Campbell,
104 U.S. 356, 358 (1882), a case concerning the alleged
appropriation of a patent by the Government: “/A pa-
tent] confers upon the patentee an exclusive property in
the patented invention which cannot be appropriated or
used by the government itself, without just compensa-
tion”. Without question, the Government is appropri-
ating and using Petitioner’s patented inventions,
without paying just compensation.

Vv. THE DISTRICT AND APPELLATE COURTS’
YEARS OF SYSTEMIC AND STRUCTURAL
RACISM LANDED WITH THE GOVERN-
MENT “TAKING” THREE OF THE MOST
SIGNIFICANT ECONOMIC STIMULUS AND
TERRORISM PREVENTION PACKAGES IN
AMERICAN HISTORY

Standards of Review for a Continuous Non-
Stop Government “Takings”

“The Fifth Amendment prohibits the federal gov-
ernment from taking private property for public use
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without paying just compensation. U.S. Const. amend.
V. “It is undisputed that the Takings Clause of the
Fifth Amendment is a money-mandating source [of
law] for purposes of Tucker Act jurisdiction” in the
Court of Federal Claims. Jan’s Helicapter Serv., Inc. v.
FAA, 525 F.8d 1299, 1309 (Fed. Cir. 2008).

Petitioner brought an action in the Court of Fed-
eral Claims [2013] against the Government for alleg-
edly “taking’ Petitioner’s property. Petitioner alleged
three counts of a government “takings” under the same
case no. 13-307C Golden v. US. Takings I happen be-
fore the case no. 13-307C Golden v. US was filed in
2013 and is the basis for the claim. Tukings IT happen
after the case no. 13-807C Golden v. US was filed in
2013, in a USPTO PTAB IPR Trial. Takings III happen
as a result of the Claims Court adjudicating a dispute
between private parties that is outside the Court’s ju-
risdiction in case no. 18-307C Golden v. US.

“Takings” I

As a result of the 9/11 attacks, between the years
2003-2005, Golden submitted three (3) Economic
Stimulus and Terrorism Prevention Packages, that
included strategies for stimulating our economy as a
whole and the African-American community, to at least
that of President Bush, VP Cheney, and 8.C. Senators
Holland, DeMint, and Graham.

President Bush, VP Cheney, and S.C. Senators
Holland, DeMint, and Graham sent the nonfrivolous
“Economic Stimulus and Terrorism Prevention
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Packages”, that included technology for CBRNE detec-
tion devices (the “SafeRack” package); technology for a
new, improved upon, and useful cell phone, PC, tablet,
laptop, etc. (the “ATPG” package); and technology for a
remote stop, stall, and vehicle slow-down system, and
pre-programmed stopping, stalling, and slowing down
of a vehicle (the “V-Tection” package), over to the De-
partment of Homeland Security (DHS) for develop-
ment and implementation.

Golden’s evidence is the response letters Golden
received from the offices of President Bush, VP Cheney,
and S.C. Senators Holland, DeMint, and Graham.

Golden traveled to Colorado in 2006 for the Gov-
ernment Agencies (DoD, DOE, DHS, etc.) SBIR Tour.
Golden met with, and left behind copies of Golden’s
stimulus packages with Lisa Sabolewski, DHS SBIR
Program Manager, who in turn asked Golden to send
the information to her via email. (E-mail correspond-
ence available).

Golden responded to an RFI in 2007 to the
DHS/S&T Safe Container (SafeCon) Initiative, and
discussed the intellectual property subject matter of
Golden’s inventions with DHS Margo Graves; Program
Manager. (E-mail correspondence available).

Golden submitted a proposal in 2007, in response
to the DHS S&T Ceil-All Ubiquitous Biological and
Chemical Sensing request for proposals, and upon re-
quest, resubmitted Golden’s intellectual property di-
rectly to the Stephen Dennis, DHS Program Manager
for the Cell-All Ubiquitous Biological and Chemical
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Sensing initiative in 2008. (E-mail correspondence
available).

Golden traveled to Washington, DC in 2008 with
his lead engineer [Harold Kimball] to discuss a “read-
ahead” document of Golden’s intellectual property and
the possibility of Golden incubating his company at the
Department of Homeland Security (DHS). Golden and
Mr. Kimball met with Ed Turner, DHS/S&T Program
Manaper.

Golden was invited by DHS to Sacramento, CA in
2008 to attend a T.R.U.ST Industry Day Symposium.
Golden discussed and left copies of his intellectual
property subject matter with a selected panel. Golden
was walked out by the Program Manager Dave Mas-
ters, where he promised Golden, he will release a Re-
quest for Proposal in the near future that aligns with
Golden’s intellectual property technological rational.

Takings I begin in 2008 when the DHS made a “fi-
nal decision” to take and give Golden’s intellectual
property subject matter to Apple, Samsung, LG, NASA,
Synkera, SeaCoast, Rhevision, and Qualcomm for de-
velopment and commercialization. This happened two
years before the DHS cause the release of the first in-
fringing product in 2010.

Some statistics about the award: 1) Golden was
the only person (African American) to hold a patent(s)
for the cell phone sensing device the Government was
requesting; Golden owned the only African American
company (ATPG Technology, LLC) not awarded a con-
tract, in view of the eight other white-owned
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companies that was awarded to develop and assemble
Golden’s patented devices; and, sixty millions African
Americans are the only ones who are not benefitting
from the three economic stimulus packages, through
the not-for-profit company (ATPG Corporation) Golden
established to receive funding specifically targeted for
African Americans.

Within the six-year statute of limitations period,
in 2013 Golden filed a takings claim in the COFC un-
der case no. 13-307C Golden v. US. The DOJ & DHS
motioned to “stay” Golden’s takings claims and in 2014
the COFC court stayed Golden’s takings claim until
2019.

The DOJ & DHS spent six years lying to the Court
that Golden’s takings claim was no different than
Golden’s infringement claims.

The COFC dismissed Golden takings claim be-
cause DOJ & DHS said “taking Golden’s property and
giving it to Apple, Samsung, LG, and Qualcomm,
sounds like infringement”. The takings begin in 2003
and a final decision to take Golden’s property [ripeness
of the takings] was made in 2008. Two years before the
first infringing product that included all the inven-
tions’ elements were released.

Therefore, Golden’s Takings claim, for the Govern-
ment taking Golden’s property and giving it to Apple,
Samsung, LG, and Qualcomm, was never adjudicated
before the case closed on November 10, 2021. In gov-
ernment-mediated private takings, private actors
functionally seize property through eminent domain,
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but rely upon the government’s formal authority to do
So.

These types of takings do not involve any delega-
tion of the power of eminent domain. Rather, the gov-
ernment exercises its own taking power to seize
property from one private actor, before then granting
it to another private actor. Such takings have also been
designated “public private takings.”

“Takings” I

Within the six-year period from 10/01/2015,
Golden filed in the United States Court of Federal
Claims, on 01/17/2019 in Larry Golden v. United
States, Case No. 1:19-cv-00104-EGB, Golden initiated
the filing of an Unconstitutional IPR-Based Takings
claim against the Government, the United States.

In Larry Golden v. United States, Case No. 1:19-
ev-00104-EGB OPINION. Document: 12 Page: 4 Filed:
05/14/2019. The United States Court of Federal Claims
responded to the Government’s Motion to Dismiss for
lack of jurisdiction: “Finally, as we held in the related
action, plaintiff fails to state a claim to the extent that
his complaint alleges a taking by the actions of this
court, the Federal Circuit, or the PTAB.” .. . “Plaintiff
appears to argue that the cancellation of his ‘990 inde-
pendent claims in the IPR at the PTAB constitutes a
taking by the PTAB.” ... “In sum, plaintiff’s takings
claim duplicates his related patent action in Docket
No. 13-307C, asserts claims over which this court does
not have jurisdiction, and fails to state a takings
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claim. Defendant’s Motion is granted pursuant to
Rule12(b)(1) and Rule12(b)(6).”

On Appeal from the United States Court of Fed-
eral Claims in No. 1:19-cv-00104-EGB, Senior Judge
Eric G. Bruggink, in the OPINION for Larry Golden v.
United States, CAFC Case No. 19-2134 Document: 37
Pages: 11-12 Filed: 04/10/2020. The Federal Circuit
clarified the COFC’s jurisdiction:

“We next turn to Golden’s IPR-based takings
claims. We first address whether the Claims Court
had jurisdiction to hear these claims. ... The govern-
ment argues that the American Invents Act (“AIA”)’s
creation of inter partes review by the Board, followed
by judicial review before this court, creates a “‘self-
executing remedial scheme’ that ‘supersedes the gap-
filling role of the Tucker Act.’” Id. at 41 (quoting United
States v. Bormes, 568 U.S. 6, 138 (2012)).”

“According to the government, the AIA statutory
scheme displaces Tucker Act jurisdiction because there
is no procedural impediment to presentation of a tak-
ings claim to the agency and because the remedial
scheme provides for judicial review of constitutional
challenges to the agency’s action. Id. at 43-49. The gov-
ernment’s argument is without merit.”

“In Bormes, the Supreme Court explained that
Tucker Act jurisdiction is displaced “when a law as-
sertedly imposing monetary liability on the United
States contains its own judicial remedies.” 568 U.S. at
12 (emphasis added). More recently, the Court ex-
plained that, “[tlo determine whether a statutory
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scheme displaces Tucker Act jurisdiction, a court must
‘examin|[e] the purpose of the [statute], the entirety of
its text, and the structure of review that it establishes.”
Horne uv. Dep't of Agric., 569 US. 513, 526-27 (2013)
(quoting United States v. Fausto, 484 US. 489, 444
(1988)). Thus, when there is a precisely defined statu-
tory framework for a claim that could be brought
against the United States, the Tucker Act gives way to
the more specific statutory scheme. Regardless of the
structure of review it establishes, the AIA is not a stat-
ute that provides for claims against the United States.”

“The government is correct that, under the AIA,
parties may raise constitutional challenges in our
court on appeal from Board decisions. But this reme-
dial scheme does not convert the AIA into a statutory
framework for claims against the United States. The
AIA is by no means “a law assertedly imposing mone-
tary liability on the United States.” Bormes, 568 US.
at 12. Accordingly, we reject the government’s argu-
ment that the AIA displaced Tucker Act jurisdiction
over Golden’s IPR-based takings claims.”

In Golden’s Motion for Leave to File a Motion for
Summary Judgement Larry Golden v. United States,
COFC Case 1:13-cv-00307-EGB Document 196 Filed
11/03/20, Golden continued his efforts to get the DOJ
and the COFC Court to address Golden’s IPR-Based
Takings claims, Golden could never be time barred
when the Claim was still pending in an active case.

When the United States causes injury to property,
a property owner can sue in the Court of Federal
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Claims. This is a result of the Tucker Act, which waives
the United States’ sovereign immunity in the COFC
only, United States v. Mitchell, 463 U.S. 206, 215-19
(1983).

Significantly, a suit alleging a compensable taking
in the Court of Federal Claims is viable as soon as gov-
ernment invades a property interest without proving a
statutory compensation guarantee. Kirby, 467 U.S. at
5; Dow, 357 U.S. at 22. The claimant need not sue in
another court to “ripen” the takings suit. As the Court
stated long ago in Great Falls Mfg. Co., 112 U.S. at 656.

Unless proven otherwise, Golden is the only Afri-
can American Patent Owner that has ever been peti-
tioned for Inter Partes Review at the PTAB by two
Government agencies [the Department of Justice
(DOJ) and the Department of Homeland Security
(DHS)}, who are not “persons” authorized to petition
the PTAB to invalidate Golden’s patents.

Unless proven otherwise, the DHS & DOJ has
never petitioned the PTAB for Inter Partes Review of
patent(s) owned by a White(s).

Unless proven otherwise, Golden is the only Afri-
can American Patent Owner that has ever been peti-
tioned for Inter Partes Review at the PTAB by two
Government agencies [the Department of Justice
(DOJ) and the Department of Homeland Security
(DHS)], who are not “persons” authorized to petition
the PTAB to invalidate patents; with three unqualified
patent references [Astrin, Breed, and Mostov] that do
not antedate Golden’s patents.
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Unless proven otherwise, the DHS & DOJ has
never petitioned the PTAB for Inter Partes Review of
patent(s) owned by a White(s) with any number of un-
qualified references.

The Trial Court dismissed the lead case COFC 13-
307C, without adjudicating Golden’s “Unconstitutional
IPR-Based “Takings” claim on 11/10/2021, which
“ripen” the takings claim.

“Takings” I

When the DOJ & DHS insisted on a dismissal in
their favor Golden v. US, Case No. 13-307C; dismissed
11/10/2021, without proving non-infringement or that
the patents are invalid, it left the patents with the
“presumption of validity”. Which means the govern-
ment cannot appropriate or use Golden’s patents with-
out paying “just compensation”.

The Supreme Court explicitly recognized that pa-
tents are property secured by the Fifth Amendment
Takings Clause. In Horne v. Department of Agriculture,
569 U.S. 518 (2013) (“Horne I”); 576 U.S. 350, 185 S. Ct.
2419 (2015) (“Horne II”), the Court held that the Tak-
ings Clause imposes a “categorical duty” on the govern-
ment to pay just compensation whether it takes
personal or real property.

Chief Justice Roberts, writing for the Court, noted
the long history of private property being secured
against uncompensated takings by the government,
beginning with the Magna Carta some 800 years ago.
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In further support, Roberts cited a Supreme Court
opinion from the late nineteenth century:

Nothing in this history suggests that personal
property was any less protected against phys-
ical appropriation than real property. As this
Court summed up in James v. Campbell, 104
US. 356, 358 (1882), a case concerning the
alleged appropriation of a patent by the Gov-
ernment:

‘ {A patent] confers upon the patentee an
exclusive property in the patented inven-
tion which cannot be appropriated or used
by the government tiself without just com-
pensation, any more than it can appropri-
ate or use without compensation land
which has been patented to a private pur-
chaser.”

James Madison, the author of the Takings Clause,
once wrote: “Government is instituted to protect prop-
erty of every sort.” The Court's decision vindicates
Madison’s intent to limit the government’s power to
take property, both personal and real, without just
compensation. And it extends a long line of cases rec-
ognizing that “property” in the constitutional sense
subsumes all things arising from labor and invention.

The DOJ & DHS never proved Golden’s patents
are invalid, and yet, continues to used them without
paying just compensation. The only thing the DOJ &
DHS proved in the Golden v. US, Case No. 13-307C is
how much of massive liars they are. Examples of their
falsehoods are:
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The DOJ/DHS made the Golden v. US, Case No. 138-
307C a case between private parties [Golden v. Apple]
which placed the case outside the COFC jurisdiction.

When the DOJ/DHS stated the sensors must be
“native to the manufacturing of the Apple and Sam-
sung products, the DOJ/DHS knew they were demand-
ing proof of direct infringement under 35 U.S.C. Sec.
271(a) as a predicate to direct infringement under 28
U.S.C. See. 1498(a) Zolich HI, that was overturned at
the CAFC in Zoltek V.

The DOJ/DHS narrowed the case to that of Apple,
LG, & Samsung, thereby omitting the sensors devel-
oped by Qualcomm, Synkera, NASA, SeaCoast, and
the camera sensors for detecting CBR developed by
Rhevision.

The DOJ & DHS stated “Golden’s patented Cen-
tral Processing Units (CPUs) was an enlargement of
the case. The DOJ & DHS motioned to have the case
dismissed because they believe the CPU was an en-
largement of the case; which means Golden violated a
Court order not to amend the case. The DOJ & DHS
lied to the Court.

The DOJ & DHS also stated Golden claimed his
CPU is a sensor located inside the product used for de-
tecting. As stated, the CPU is used for carrying out the
operational and functional instructions of the devices,
and the CPU is considered by many as the brains of
the devices.
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Nowhere, did Golden claim the CPU is used as a
sensor for CBR detection. Golden did not enlarge the
case with the CPU. Rule 4 required Golden to identify
where each element is found in the alleged infringing
products. Golden located where the CPU was found,
which is not an enlargement. Further, if the products
do not have CPUs, the products cannot function cor-
rectly. The case was dismissed because the DOJ & DHS
lied to the Court.

The Federal Circuit in FastShip, LLC v. U.S., “(Wie
interpret “manufactured” in § 1498 [] such that a prod-
uct is “manufactured” when it is made to include each
limitation of the thing invented and is therefore suita-
ble for use. Without the sensors the products will never
be suitable for use.

The DOJ & DHS made sure the sensors and detec-
tors required to have a product “suitable for use” never
happen. The DOJ & DHS blocked the sensors and
detectors of Qualcomm, NASA, Synkera, SeaCoast,
Rhevision, Apple, Samsung, and LG.

The DOJ & DHS chose not to challenge the com-
munication methods limitation, because a challenge
would verify the internet, Bluetooth, and RF connec-
tions makes the smartphones “capable of” integrating
detectors and sensors remote the smartphone.

The DOJ & DHS decided to challenge the term
“capable of” without a claim construction hearing be-
cause 21 of the 25 patent claims that the USPTO is-
sued with the presumption of validity” in the related
Golden v. US, case no. 18-307C, has “capable of” in it.
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Golden made multiple repeated attempts to in-
form the DOJ & DHS that the sensors, according to the
DHS Cell-All initiative, can be located both inside and
outside the phones. When Golden identified sensors
both-inside (camera~sensor)-the-phone, and outside
(NODE+) the phone, the DOJ & DHS did not accept
the devices.

Apple and NASA are two of the third-party con-
tractors in the related Golden v. US, case no. 13-307C
for the DHS Cell-All initiative. NASA’s contribution to
the development of the “cell phone sensing device” was
not accepted or considered by the DOJ & DHS. The
DOJ & DHS pled that “to include the NODE+ is an
enlargement of the case; which is a violation of the
Court’s order not to amend.”

The DOJ & DHS created the substantive right for
Golden to receive “just Compensation for the taking of
Golden’s property under the Fifth Amendment Clause
of the U.S. Constitution when they violated 28 US.
Code § 1498(a): “a money-mandating constitutional
provision” and the “statute or regulation” of the provi-
sion.

After the Department of Homeland Security
(DHS) received information from the then President,
Vice-President, three U.S. Senators from South Caro-
lina, a DHS SBIR Program Manager, and a DHS Con-
tracting Officer for the SafeCon initiative, the DHS in
2007 released the DHS S&T Cell-All Ubiquitous Bio-
logical and Chemical Sensing solicitation for a cell
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3D

phone “capable of” detecting for CBR agents and com-
pounds.

Using Golden’s Product Grouping strategies, the
DHS contracted Apple, Samsung, LG, Qualcomm,
Synkera, NASA, Rhevision, and SeaCoast to assemble
Golden’s CMDC device in a way that will group prod-
ucts together by common features and design similar-
ities.

The DOJ & DHS has continually retaliated
against Golden for 10 years (2013-2023) for filing a
claim in the United States Court of Federal Claims for
just compensation.

Golden has two disabling locking mechanism that
follows the same patterns: detection; lock; reset. The
first is when a hazardous substance is detected it sends
a signal to lock the device. The second is when and un-
authorized attempt (fingerprint, facial, code) to unlock
the device, a signal is sent to lock the device. The DOJ
& DHS repeatedly stated in signed pleadings that
Golden did not identify the locking mechanism.

The “takings” occurred when the Government re-
moved itself, and seven of the eight third-party con-
tractors with the exception of Apple from the case and
made it a case between private parties. Under 28 U.S.
Code § 1498(a), a “party infringement” claim against
the Government, must have the Government as a De-
fendant.

28 U.S. Code § 1498(a) is a “money-mandating
constitutional provision” that “assertedly impos|es]
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monetary liability on the United States.” Bormes, 568
US. at 12. Accordingly, 28 U.S. Code § 1498(a) does not
displaced Tucker Act jurisdiction over Golden’s Uncon-
stitutional Jurisdictional-Based takings claims.”

The Supreme Court explained that when there is
a precisely defined statutory framework for a claim
that could be brought against the United States, the
Tucker Act gives way to the more specific statutory
scheme. Regardless of the structure of review it estab-
lishes, [28 U.S. Code § 1498(a)] is [] a statute that pro-
vides for claims against the United States.”

&
¥¥

CONCLUSION

Petitioner has another case no. 23-811C Golden v.
US pending in the Court of Federal Claims whereby
the case has been assigned the same Judge Bruggink
and DOJ Attorney Grant. The same Judge and Defense
Attorney who violated Petitioner’s “money-mandating
constitutional provision” that “assertedly impos|es]
monetary liability on the United States”. Bormes, 568
USS. at 12, in the three counts of Government “Takings”
UZ, ZZ, & £11] presented in this petition.

Six months ago, Petitioner asked Judge Bruggink
to disqualify himself because the case mirrors that of
Takings HI. If the Judge over reach the Court’s juris-
diction and makes the case a dispute between private
parties, the same as in Takings III, before dismissing
the case in favor of the Defendant, it qualifies as
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another Unconstitutional Jurisdictional-Based “tak-
ings” claim”.

Not until 1911, was a provision enacted requiring
a district-judge recusal for bias in general. In its cur-
rent form, codified at 28 U.S.C. § 144, that provision
reads as follows:

“Whenever a party to any proceeding in a dis-
trict court makes and files a timely and suffi-
cient affidavit that the judge before whom the
matter is pending has a personal bias or prej-
udice either against him or in favor of any
adverse party, such judge shall proceed no
further therein, but another judge shall be
assigned to hear such proceeding.”

Judge Bruggink has yet to respond to the request
for disqualification and the Federal Claims Court has
yet re-assigned the case to another. If history is known
to repeat itself, Judge Bruggink will allow the request
to sit on the docket for years, only to never address it.
The same as in Takings Jf, IZ, & Hi.

Also, the three Economic Stimulus and Terrorism
Prevention Packages are so massive, and the patented
inventions of the Petitioner are being appropriated
and used in such abundance, it stands to reason that
this Court will grant this petition to stop future fil-
ings.

For instance, Petitioner has specific patents at is-
sue in Takings I, Il, & III for the Petitioner’s patented
“new, improved upon, and useful cell phone and/or
smartphone” [ATPG Project], that are U.S. Patent
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9,589,439 (“the ‘439 patent”) that includes eleven (11)
independent patent claims for the smartphone (i.e.,
new, improved upon, and useful “cell phone”); U.S. Pa-
tent 9,096,189 (“the ‘189 patent”) that includes nine
(9) independent patent claims for the smartphone
(i.e., new, improved upon, and useful “cell phone”); U.S.
Patent 10,163,287 (“the ‘287 patent”) that includes
six (6) independent patent claims for the smartphone
(i.e., new, improved upon, and useful “cell phone”); and,
US. Patent 10,984,619 (“the ‘619 patent”) that in-
cludes two (2) independent patent claims and eighteen
(18) dependent patent claims for the smartphone (i.e.,
new, improved upon, and useful “cell phone”). That’s a
combined total of forty-six (46) independent and de-
pendent patent claims for the Petitioner’s patented
smartphone (i.e., new, improved upon, and useful “cell
phone”).

As the Court summed up in James v. Campbell,
104 US. 356, 358 (1882), a case concerning the alleged
appropriation of a patent by the Government: “fA pa-
tent] confers upon the patentee an exclusive property
in the patented invention which cannot be appropriated
or used by the government itself, without just compen-
sation”. Without question, the Government is appro-
priating and using Petitioner’s patented inventions,
without paying just compensation.

The Government continuously appropriated and
used Petitioner’s inventions, daily, without paying just
compensation.
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For the foregoing reasons, the court should grant
this petition.

Respectfully submitted,

Larry GOLDEN, Petitioner, Pro Se
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